GREENWOOD PACKING PLANT, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Greenwood Packing Plant v. CommissionerDocket No. 101593.United States Board of Tax Appeals46 B.T.A. 632; 1942 BTA LEXIS 840; March 13, 1942, Promulgated *840  1.  Petitioner during the taxable year 1935 was engaged, among other things, in the processing of hogs, upon which a processing tax was imposed.  Petitioner in 1935 accrued on its books a certain amount of processing taxes which was not paid on account of the law later being declared unconstitutional.  The Commissioner has determined an unjust enrichment tax against petitioner under section 501(a)(1), Revenue Act of 1936, on the ground that the burden of the processing taxes had been shifted by petitioner to others.  Held, that mere general testimony of one witness that petitioner suffered a loss on its sales of hog products in 1935 without any figures taken from accounting records to substantiate such loss, even though some of the records have been destroyed and are no longer available to petitioner, is not sufficient to show that petitioner had no net income from the sale of hog products in 1935; held, further, that such general testimony is not sufficient to overcome the presumptive correctness of the Commissioner's determination that petitioner shifted such processing taxes to others.  2.  Petitioner filed its unjust enrichment tax return for the year 1935 on December 15, 1936. *841  The Commissioner mailed his deficiency notice December 6, 1939.  Held, the statute of limitations has not barred the deficiency.  Secs. 275(a) and 503(a), Revenue Act of 1936.  3.  Title III of the Revenue Act of 1936, which imposes the tax on unjust enrichment involved in this proceeding, is not unconstitutional.  White Packing Co. v. Robertson, 89 Fed.(2d) 775, followed.  Theodore B. Benson, Esq., for the petitioner.  Charles Oliphant, Esq., for the respondent.  BLACK*632  The Commissioner has determined a deficiency in petitioner's unjust enrichment tax of $1,598.02 for the calendar year 1935.  In his deficiency notice he stated as follows: *633  This determination of your unjust enrichment tax liability has been made upon the basis of information on file in the Bureau.  Adjustment to Net IncomeNet income reportedNoneUnallowable deduction and additional income:(a) Portion of Federal excise tax (imposed but not paid) the burden of which was shifted to others$1,997.52Net income adjusted$1,997.52* * * The extent to which a taxpayer shifted to others the burden of a Federal*842  excise tax is presumed to be the amount indicated by the computations provided for by section 501(e) of the Act.  Schedules have been provided in the return, form 945, for the purpose of effecting the necessary computations but since you failed to furnish the information required by these schedules you have not established that the burden of the tax was borne by you and not shifted to others.  Furthermore, you have not submitted the information required by the schedules showing a determination of your net income from the sale of articles with respect to which the tax was imposed but not paid, as provided for in section 501(c) of the Act, or a determination of your net income under the provisions of section 501(a)(1) of the Act for the entire taxable year from the sale of articles with respect to which the tax was imposed.  In the absence of the data indicated above, the total Federal excise tax, imposed but not paid, which is the limitation under section 501(e)(3) of the Act is considered to be the net income subject to unjust enrichment tax under the provisions of section 501(a).  To this determination of the Commissioner, the petitioner has assigned errors as follows: 1.  The*843  notice of deficiency was mailed subsequent to the three years period of limitation on assessment.  2.  The Commissioner increased taxpayer's income in the amount of $1,997.52.  3.  The Commissioner determined an income tax deficiency when taxpayer had no net income for the calendar year, and had no net income from the processing of any articles on which a tax was based.  4.  The Commissioner determined an income tax deficiency on the basis of Title III of the 1936 Revenue Act, requiring the determination of a tax on income, when no free net income exists with which to pay it, contrary to the 5th and 16th amendments of the U.S. Constitution.  FINDINGS OF FACT.  The petitioner is a South Carolina corporation, with post office address and principal place of business at Greenwood, South Carolina, and made its return of corporation income tax for the calendar year 1935 and its monthly returns of processing tax on hogs to the collector of internal revenue for the collection district of South Carolina.  The petitioner made returns of the processing tax on hogs on P.T. Form 4 for the twelve months of 1935 and paid the tax to the end of May.  The tax for the remaining months in*844  the amount of $1,997.52 was not paid.  *634  During the year 1935 the petitioner was engaged in processing hogs and slaughtering cattle and in selling the products thereof to retail dealers.  Also petitioner was engaged in buying at wholesale salt meats, cheese, butter, and other dairy products and selling these articles to its retail customers.  The records maintained by the petitioner during 1935 were a ledger, a cash book, and purchase and sale invoices.  The purchase and sale invoices had been damaged by rats and were burned in 1936.  Total sales for 1935 amounted to $105,821.95 and total purchases to $72,789.91.  From the records now in existence purchases can be segregated to merchandise bought for resale $29,470.85, to cattle $27,252.43 and to hogs $16,811.78, including materials for their processing.  In the absence of the sale invoices destroyed in 1936, no segregation of sales can be made so as to show separately sales of merchandise bought for resale, sales of cattle products, or sales of hog products.  The salt meats were purchased from packers and disposed of at wholesale prices at a gross profit of from one-half to one cent per pound.  The butter was purchased*845  from a local creamery at wholesale and was resold at a gross profit, the amount of which is not shown in the record.  The cheese, mayonnaise, and similar products were purchased from the Kraft Co.  The full Kraft line was carried, which was bought and sold at market.  Cattle were purchased from farmers in the area of Greenwood, which is a good cattle country.  Petitioner regarded that its sales of beef products were at a profit, although it kept no separate cost accounting for its beef products.  The petitioner began the slaughtering of hogs in 1928 in a small way, which was increased from year to year.  In 1935 the petitioner handled as few hogs as it could get by with and at the same time keep its trade satisfied.  The reason for this was that it regarded itself as handling hogs and the processed products thereof at a loss.  Petitioner kept no accounts which showed what loss, if any, it suffered in the handling and processing of hogs.  The petitioner had no modern equipment for slaughtering hogs.  The work was for the most part done by hand.  The cost of all labor that should be allocated to the processing and handling of hogs is 50 percent, to cattle from 35 to 40 percent, and*846  the balance to merchandise bought and sold and incidentals.  Petitioner filed an income tax return on Form 1120 for the calendar year 1935, in which it reported its gross income and deductions and showed a loss of $497.37 and no income tax due.  Respondent's revenue agent, on May 10, 1937, made the following adjustments to the income tax return which petitioner filed for the year 1935: Unallowable deductions and additional income:(a) Machinery payments expensed$90.00(b) Donation3.00(c) Accrued Capital Stock Tax 193516.00(d) Processing Taxes accrued2,051.19(e) Life Insurance Prem. on Officers76.52Total$2,236.71Nontaxable income and additional deductions:(f) Accrued Capital Stock Tax 1936$16.00(g) Additional Depreciation270.97(h) Salaries of Officers1,500.00Total$1,786.97Net adjustment as above449.74Less Loss shown on return(497.37)Net Loss for year 1935(47.63)*635  Petitioner filed a return of tax on unjust enrichment on Form 945, under Title III of the Revenue Act of 1936, for the calendar year 1935 with the collector of internal revenue for the district of South Carolina.  This return was*847  filed December 16, 1936.  It reported no unjust enrichment income for taxation, but under the heading of "Summary of Taxable Net Income" petitioner stated as follows: "Loss as per statement submitted." The statement which petitioner submitted with its unjust enrichment tax return was as follows: Amended return for Greenwood Packing Plant Greenwood S C For year 1935.Total sales$105,821.61Cost of Goods$74,510.43Less inventory1,720.8272,789.6133,032.34Receipts for killing1,168.09Abatement from Process Tax2,051.1936,251.62General expense$13,984.97Depreciation Bldgs947.91Dep Machinery600.00Int and Disct935.37Labor11,526.74Salary1,440.00Accts Rec1,320.00Depreciation Trucks546.00Total Process Tax3,396.81Additional salaries1,500.0036,197.80Net gain for year53.82*636  This net gain wasn't shown in income return inasmuch as process tax had not been declared unconstitutional and therefore was an expense.  The additional salaries could not be paid with loss as shown in income return tho the plant was under obligations to pay.  After the unpaid process tax was cancelled*848  or abated the additional salaries were paid.  This very clearly shows the loss from process tax application.  Petitioner, in the unjust enrichment tax return which it filed on Form No. 945, made no attempt to furnish any of the information called for in the numerous schedules which accompany the return form.  OPINION.  BLACK: This is not a case where petitioner has received from the Government a refund of processing taxes which it had accrued and paid in a prior year and which the Commissioner has determined had been passed on to the taxpayer's customers in such prior year and had not since been refunded to such customers.  This is a case where the taxpayer accrued on its books in 1935 a liability for certain processing taxes which it did not pay in that year but which it took as a deduction on its income tax return filed for 1935.  This return showed a loss of $497.37 and no income tax due.  Later on, after the processing tax had been declared unconstitutional, petitioner's books and accounts were audited by a revenue agent and he disallowed as a deduction $2,051.19 processing taxes which petitioner had accrued as a liability on its books in 1935 and had taken as a deduction*849  on its 1935 tax return, although such amount was never paid by petitioner.  The revenue agent, however, allowed to petitioner certain additional deductions which petitioner had not taken on its income tax return.  These additional deductions when taken into account still showed that petitioner had a loss in 1935 of $47.63.  So far as the record shows, the Commissioner approved this report of the revenue agent and did not determine any deficiency in petitioner's normal income tax for the year 1935.  The report of the internal revenue agent made no recommendation or findings as to petitioner's unjust enrichment tax, if any, under Title III of the Revenue Act of 1936.  The Commissioner on December 6, 1939, determined a deficiency of $1,598.02 in petitioner's unjust enrichment tax for the calendar year ended December 31, 1935.  The detailed reasons which were given by the Commissioner for his determination of the deficiency have already been stated, in our preliminary statement, and need not be repeated here.  It is plain that if petitioner is taxable on the $1,997.52 accrued processing taxes, not paid, it is under section 501(a)(1) of the *637  Revenue Act of 1936.  That provision*850  of the 1936 act is printed in the margin. 1Petitioner defends against the imposition of the tax on two grounds: (1) That it operated at a loss and received no net income from any source in 1935, and, failing in this, (2) That no net income was received from the processing of hogs in 1935.  With respect to ground No. 1, it has been proved in this proceeding that the income tax return of petitioner which was filed for the year 1935 showed a loss of $497.37 and that respondent's*851  revenue agent made certain adjustments in petitioner's income as shown on its return which were not contested, and that after these adjustments were made petitioner still had a loss of $47.63 instead of net income for the year 1935.  For the purpose of this discussion we assume that this revenue agent's report made a correct determination of petitioner's income and deductions for the year 1935 and correctly arrived at a loss of $47.63 for the year.  However, as we construe section 501(a)(1), in order for a taxpayer to escape its provisions it is not sufficient to show that the taxpayer had a loss in the taxable year from general business operations.  A taxpayer may be liable for unjust enrichment taxes even though he had no net income from general operations.  It seems clear that the statute so provides.  As we construe the statute in question, there are two ways whereby a taxpayer can show he was not liable for the tax which has been imposed.  First, if he can prove that he did not pass the tax on to his customers but absorbed it himself, then he is not liable for the tax, even though he did have a net income in the taxable year.  Second, if he can prove that he had a loss from*852  the sale of articles upon which the excise tax was not paid, then he would not be liable for the tax, even though he is not able to prove affirmatively that he absorbed the tax.  No authorities need be cited to show that the burden is on petitioner to show these things.  It seems plain that petitioner does not succeed in providing either of these things by showing that it had a small operating loss in 1935 from its business operations.  Petitioner, at the hearing, made no effort to show that it did not pass the processing tax on hogs to its customers except to show that during the year it operated its business at a small loss.  This sort of evidence is not sufficient to prove that it did not pass the processing *638  tax on to its customers.  Cf. Vennell v. United States, 122 Fed.(2d) 936, affirming 38 Fed.Supp. 381. Likewise, such evidence as to a small loss in 1935 from general business operations is not sufficient to show that petitioner incurred a loss in the sale of its hog products upon which the processing tax was imposed.  If petitioner did in fact suffer a loss in the sale of its hog products during the calendar year 1935, the burden*853  was on it to prove such loss in one of the two ways which the statute requires.  The method of proof is prescribed by section 501(c), printed in the margin. 2 Petitioner concedes that it has made no effort to determine its net income, if any, from its sales specified in section 501(a)(1), in the manner prescribed by section 501(c)(1) or (2).  The reason that it has made no effort to do so is because it has no accounting records which will enable it to determine the amount of its gross income from the sale of hogs which were processed.  Without first determining the amount of gross income from these sales, it is, of course, impossible to determine the net income or loss from them, as the case may be.  Petitioner can and has determined that its gross sales of all products in 1935 were $105,821.95 but it has been unable to show any breaking down of these sales so as to show separately how much hog products, how much beef products, and how much miscellaneous merchandise were sold.  Petitioner has records from which it can break down its purchases during 1935 and these have been shown in our findings of fact.  The amount of hogs purchased plus materials which went into their processing*854  was $16,811.78.  However, this particular evidence as to hog purchases offers no help by which we can determine the gross income which petitioner received from the sale of hog products after the hogs were processed.  Without such latter data, we are unable to determine, as we have already stated, whether petitioner had a net *639  income in 1935 from its sales of hog products or had a net loss from these sales, as it claims.  *855  Petitioner introduced the testimony of W. A. Barnett, vice president and secretary of petitioner, who testified in a general way that petitioner lost money on its purchases and sales of hogs and their products in 1935.  The substance of his testimony was that petitioner was not advantageously located for the purchase of hogs, that it had to purchase them in competition with the big packers, and that he figured that petitioner, most of the time, lost money on its handling of hogs and hog products and that on this account petitioner endeavored to handle just as few hogs as possible and at the same time satisfy its trade.  The witness was unable to give any figures from the books which disclosed the gross sales of hog products that had been processed or submit any figures from which we might arrive at what would be at least a reasonable approximation of what net income or loss, as the case might be, petitioner had in 1935 from its purchases, processing, and sales of hogs.  We do not think such evidence as the witness Barnett gave, coupled with the other evidence which is in the record, is sufficient to overcome the presumptive correctness of the Commissioner's determination.  *856  As we have already pointed out, even though petitioner has been unable to show whether it had net income or loss from the sale of hog products in 1935, it still could have escaped the unjust enrichment tax which is now demanded if it could have shown that it absorbed the processing tax in question and did not pass it on to its customers.  In making such a showing petitioner is not confined to the formulas, margins, etc., prescribed by the statute.  Even when all books and records are lost, there are cases where such a showing can be made.  Sophie Jaski,43 B.T.A. 321"&gt;43 B.T.A. 321. But in the instant case petitioner has offered no testimony at all bearing upon the question as to whether it absorbed the processing taxes or passed them on to its customers except the general testimony unsupported by figures that it lost money on handling hogs.  Such testimony is insufficient to show that petitioner did not pass the tax on to its customers.  Vennell v. United States, supra.The petition raises the question of the statute of limitations, but nothing is said of it in the brief.  The facts show that petitioner's unjust enrichment tax return was filed December 15, 1936, and*857  the deficiency notice was mailed December 6, 1939.  The statute of limitations had not run at the time the deficiency notice was mailed.  See secs. 275(a) and 503(a), Revenue Act of 1936.  The petition raises the question of the constitutionality of Title III of the Revenue Act of 1936, under which the Commissioner seeks to *640  impose the tax.  No argument is made in the brief in support of this particular assignment of error.  We think it is without merit.  The constitutionality of the unjust enrichment tax has been upheld by numerous decisions of the courts.  See White Packing Co. v. Robertson, 89 Fed.(2d) 775; Louisville Provision Co. v. Glenn,18 Fed.Supp. 423; appeal dismissed, 90 Fed.(2d) 1012; Union Packing Co. v. Rogan,17 Fed.Supp. 934. Decision will be entered for the respondent.Footnotes1. SEC. 501.  TAX ON NET INCOME FROM CERTAIN SOURCES.  (a) The following taxes shall be levied, collected, and paid for each taxable year (in addition to any other tax on net income), upon the net income of every person which arises from the sources specified below: (1) A tax equal to 80 per centum of that portion of the net income from the sale of articles with respect to which a Federal excise tax was imposed on such person but not paid which is attributable to shifting to others to any extent the burden of such Federal excise tax and which does not exceed such person's net income for the entire taxable year from the sale of articles with respect to which such Federal excise tax was imposed. ↩2. (c) The net income from the sales specified in subsection (a)(1) shall be computed as follows: (1) From the gross income from such sales there shall be deducted the allocable portion of the deductions from gross income for the taxable year which are allowable under the applicable Revenue Act; or (2) If the taxpayer so elects by filing his return on such basis, the total net income for the taxable year from the sale of all articles with respect to which each Federal excise tax was imposed (computed by deducting from the gross income from such sales the allocable portion of the deductions from gross income which are allowable under the applicable Revenue Act, but without deduction of the amount of such Federal excise tax which was paid or of the amount of reimbursement to purchasers with respect to such Federal excise tax) shall be divided by the total quantity of such articles sold during the taxable year and the quotient shall be multiplied by the quantity of such articles involved in the sales specified in subsection (a)(1).  Such quantities shall be expressed in terms of the unit on the basis of which the Federal excise tax was imposed.  For the purposes of this section the proper apportionment and allocation of deductions with respect to gross income shall be determined under rules and regulations prescribed by the Commissioner with the approval of the Secretary. ↩